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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES —- GENERAL

Case No. CR 24-00456-TJH Date: July 7, 2025

Present: The Honorable: TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE

Interpreter

Matthew S. Reilly

V.R. Vallery CourtSmart Alexander Schwab

Deputy Clerk Court Reporter / Recorder Assistant U.S. Attorney
U.S.A. v. Defendant(s) Present Cust Bond Attorneys for Defendants: Present App Ret
Andrew Left xX xX Aaron Katz xX xX
Eric Rosen xX x
Yusef Al-Jarani xX xX

Proceedings: DEFENDANT’S MOTION TO DISMISS [34]

The hearing is held. Following discussion with counsel, the court takes the motion under

submission. A written order will issue.

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Initials of Deputy Clerk VRV

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